        •                       Case 18-25079-RAM                                Doc 1   Filed 12/03/18        Page 1 of 8

 Fiii in tfm, informatio n to identify your case


 United States Bankruptcy Court for the:
 _ _ _ _ District of _ _ __

 Case number (If k n o w n ) : - - - - - - - - - - - Chapter you are filing under:
                                                                   6id'   Chapter 7
                                                                   [J Chapter 11
                                                                   CJ     Chapter 12
                                                                                                                                   0   Check if this is an
                                                                   [J Chapter 13
                                                                                                                                       amended filing



Official Form 101
Volu ntary Petit ion for Indiv idual s Filing for Bank ruptc y                                                                                               12/17

                                                                                            couple may file a bankruptc y case together- called a
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married
                                                                                    both debtors. For example, if a form asks, "Do you own a car,''
joint case-and in joint cases, these forms use you to ask for informatio n from
                                             owns a car. When informatio n is needed  about  the spouses  separately, the form uses Debtor 1 and
the answer would be yes If either debtor
                                                                              must report informatio n as Debtor 1 and the other as Debtor 2. The
 Debtor 2 to distinguish between them. In joint cases, one of the spouses
 same person must be Debtor    1 In all of the forms.
                                                                                        both are equally responsib le for supplying correct
 Be as complete and accurate as possible. If two married people are filing together,
                                                                               On the top of any additional pages, write your name and case number
 information. If more space is needed, attach a separate sheet to this form.
 (if known). Answer every question.


f@f I       Identify YourseH

                                      About Debtor 1:                                                 About Debtor 2 (Spouse Only In a Joint Case):

1.   Your full name
     Write the name that is on your   Jeannette
     government-issued picture                                                                        First name
                                      First name
     identification (for example,
     your driver's license or
                                      Middle name                                                     Middle name
     passport}.
                                       Rodriguez
     Bring your picture                                                                               Last name
                                      Last name
     identification to your meeting
     with the trustee.
                                      Suffix (Sr., Jr., II, Ill)                                      Suffix (Sr., Jr., II, Ill)




 2. All other names you                Jeannette
     have used in the last 8           First name                                                      First name
     years
                                       Middle name                                                    Middle name
     Include your married or
     maiden names.                     Rodriguez
                                       Last name                                                       Last name



                                       Firstname                                                       First name


                                       Middle name                                                     Middle name


                                       Last name                                                       Last name




 3. Only the last 4 digits of                                                                          xxx           xx - - - - - - - - -
                                       xxx           xx - -7- -2- -5- - -
      your Social Security
                                                                                                       OR
      number or federal                OR
      Individual Taxpayer
      Identification number            9 xx      -   xx     -- - - - - - - -                           9 xx      -   xx        - - - - ---- -
      (ITIN)
                                                                                                                                                  page 1
  Official Form 101                                  Voluntary Petition for Individual s Filing for Bankruptc y
                                Case 18-25079-RAM                            Doc 1          Filed 12/03/18              Page 2 of 8


              Jeannette Rodriguez                                                                        case number (llknownl_ _ _ _ _ _ _ _ _ _ _ _ __
Debtor 1
               First Name   Middle Name               Last Name




                                          About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):



4. Any business names                                                                                        0       I have not used any business names or EINs.
      and Employer                        .l2f I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in
                                                                                                             Business name
      the last 8 years                    Business name

      Include trade names and
      doing business as names             Business name                                                      Business name



                                                                                                              EIN-



                                                                                                              EIN




                                                                                                              If Debtor 2 lives at a different address:
5.    Where you live

                                           5655 NW 109th Avenue #58
                                                                                                              Number          Street
                                           Number         Street




                                           Miami, FL 33178
                                                                                             ZIP Code         City                                      State    ZIP Code
                                           City                                     State


                                                                                                              County


                                           If your malling address Is different from the one                  If Debtor 2's mailing address is different from
                                           above, fill it in here. Note that the court will send              yours, fill it In here. Note that the court will send
                                           any notices to you at this mailing address.                        any notices to this mailing address.



                                                                                                              Number           Street
                                           Number          Street

                                            PO Box 452878
                                                                                                              P.O. Box
                                           P.O. Box

                                            Kissimmee,                               FL       34745
                                                                                    State     ZIP Code        City                                      State    ZIP Code
                                           City




                                            Check one:                                                         Check one:
 &.    Why you are choosing
       this district to file for                                                                               0      Over the last 180 days before filing this petition,
                                            ~ Over the last 180 days before filing this petition,
       bankruptcy                                 I have lived in this district longer than in any                    I have lived in this district longer than in any
                                                  other district.                                                     other district.

                                            0     I have another reason. Explain.                                0    I have another reason. Explain.
                                                  (See 28 U.S.C. § 1408.)                                             (See 28 U.S.C. § 1408.)




                                                                                                                                                            page 2
      Official Form 101                                  Voluntary Petition for Individual s Fiiing for Bankruptc y
                                Case 18-25079-RAM                            Doc 1        Filed 12/03/18            Page 3 of 8


               Jeannette Rodriguez                                                                     Case number (dknownl_ _ _ _ _ _ _ _ _ _ _ __
 Debtor 1
                First Name   Middle Name                Last Name




. , , , Tell the Court About Your Bankruptcy                         ca-

 1.   The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file                 1;21 Chapter 7
      under
                                           CJ Chapter 11
                                           CJ      Chapter 12

                                           CJ      Chapter 13


 a. How you will pay the fee               CJ I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                   local court for more details about how you may pay. Typically, if you are paying the fee
                                                   yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                   submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                   with a pre-printed address.

                                           Q I need to pay the fee in installments. If you choose this option, sign and attach the
                                                   Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           !ill I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                   By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                   less than 150% of the official poverty line that applies to your family size and you are unable to
                                                   pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                   Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.



 9.   Have you filed for                   !ill No
      bankruptcy within the                                                                                              Case number
      last 8 years?                        Cl Yes.       District                              When
                                                                                                       MM/ DD/YYYY

                                                         District                              When                      Case number
                                                                                                       MM/ DD/YYYY

                                                         District                              When                      Case number
                                                                                                       MM/ DD/YYYY




  10. Are any bankruptcy                    1;21   No
       cases pending or being                                                                                            Relationship to you
       filed by a spouse who is             Cl Yes.      Debtor
       not filing this case with                         District                              When                      Case number, if known
       you, or by a business                                                                           MM/DD /YYYY
       partner, or by an
       affiliate?
                                                         Debtor                                                          Relationship to you

                                                         District                               When                     Case number, if known
                                                                                                       MM/DD/YYYY



  11. Do you rent your                      6ll No.       Go to line 12.
       residence?                           Cl Yes.       Has your landlord obtained an eviction judgment against you?

                                                          CJ   No. Go to line 12.
                                                          CJ   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                               part of this bankruptcy petition.




                                                          Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
      Official Form 101
                                     Case 18-25079-RAM                            Doc 1        Filed 12/03/18          Page 4 of 8


Debtor 1         Jeannette Rodriguez                                                                        Case number (dknown)_ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name       Middle Name               Last Name




               Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                   ~ No. Go to Part 4.
      of any full- or part-time
      business?                                 0   Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
      individual, and is not a                             Name of business. if any
      separate legal entity such as
      a corporation, partnership, or
      LLC.                                                 Number       Street




                                                                                                                                                               I
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                            City                                                                ZIP Code


                                                           Check the appropriate box to describe your business:

                                                           0
                                                           0
                                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                                                                                                                                               I
                                                                                                                                                               f
                                                           0   Stockbroker (as defined in 11U.S.C.§101(53A))
                                                                                                                                                               I
                                                           0
                                                           0
                                                               Commodity Broker (as defined in 11 U.S.C. § 101 (6))

                                                               None of the above                                                                               i
                                                                                                                                                               11


13.   Are you filing under                      If you are filing under Chapter 11. the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
      are you a small business
      debtor?
      For a definition of small
                                                6'I No.    I am not filing under Chapter 11.

      business debtor, see                      0   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11U.S.C.§101(510).                                the Bankruptcy Code.

                                                0   Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


              Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any                      ~No
      property that poses or is
      alleged to pose a threat                  0   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                                   If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      immediate attention?
      For example, do you own
      perishable goods. or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                            Where is the property? - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                      Number       Street




                                                                                      City                                         State     ZIP Code


 Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                 page4
                                Case 18-25079-RAM                           Doc 1         Filed 12/03/18                Page 5 of 8


Debtor 1      Jeannette Rodriguez                                                                        Case number (dknown), _ _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name    Middle Name               Last Name




           Explain Your Efforts to Receive a Briefing About Credit Counseling

                                          About Debtor 1 :                                                    About Debtor 2 (Spouse Only In a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit                  You must check one:                                                 You must check one:
   counseling.
                                          111 received a briefing from an approved credit                     CJ   I received a briefing from an approved credit
                                               counseling agency within the 180 days before I                      counseling agency within the 180 days before I
   The law requires that you                   filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
   receive a briefing about credit             certificate of completion.                                          certificate of completion.
   counseling before you file for
                                               Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
   bankruptcy. You must
                                               plan, if any, that you developed with the agency.                   plan, If any, that you developed with the agency.
   truthfully check one of the
   following choices. If you              CJ   I received a briefing from an approved credit                  CJ   I received a briefing from an approved credit
   cannot do so, you are not                   counseling agency within the 180 days before I                      counseling agency within the 180 days before I
   eligible to file.                           filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                               certificate of completion.                                          certificate of completion.
   If you file anyway, the court
                                               Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                               you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
   will lose whatever filing fee                                                                                   plan, if any.
                                               plan, if any.
   you paid, and your creditors
   can begin collection activities        CJ   I certify that I asked for credit counseling                   CJ   I certify that I asked for credit counseling
   again.                                      services from an approved agency, but was                           services from an approved agency, but was
                                               unable to obtain those services during the 7                        unable to obtain those services during the 7
                                               days after I made my request, and exigent                           days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                               of the requirement.                                                 of the requirement.
                                               To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                               requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                               you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                               bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                               required you to file this case.                                     required you to file this case.
                                               Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                       You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                               may be dismissed.                                                   may be dismissed.
                                               Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                               days.                                                               days.

                                          CJ   I am not required to receive a briefing about                  CJ   I am not required to receive a briefing about
                                               credit counseling because of:                                       credit counseling because of:

                                               CJ   Incapacity.   I have a mental illness or a mental              CJ   Incapacity.   I have a mental illness or a mental
                                                                  deficiency that makes me                                            deficiency that makes me
                                                                  incapable of realizing or making                                    incapable of realizing or making
                                                                  rational decisions about finances.                                  rational decisions about finances.
                                               CJ   Disability.   My physical disability causes me                 CJ   Disability.   My physical disability causes me
                                                                  to be unable to participate in a                                    to be unable to participate in a
                                                                  briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                  through the internet, even after I                                  through the internet, even after I
                                                                  reasonably tried to do so.                                          reasonably tried to do so.
                                               CJ   Active duty. I am currently on active military                 CJ   Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                     duty in a military combat zone.
                                               If you believe you are not required to receive a                    If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
                              Case 18-25079-RAM                           Doc 1         Filed 12/03/18             Page 6 of 8

Debtor 1      Jeannette Rodriguez                                                                     Case number (If known). _ _ _ _ _ _ _ _ _ _ _ __
              First Name   Middle Name                Last Name




           Answer These Questions for Reporting Purposes


1&. What kind of debts do
                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11                    u.s.c. § 101(8)
                                              as "incurred by an individual primarily for a personal, family, or household purpose."
   you have?
                                              0   No. Go to line 16b.
                                              ~ Yes. Go to line 17.
                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                              0   No. Go to line 16c.
                                              0   Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.



11. Are you filing under
   Chapter 7?                            0   No. I am not filing under Chapter 7. Go to line 18.

   Do you estimate that after ~ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
   excluded and                      !ill No
   administrative expenses
   are paid that funds will be       0 Yes
   available for distribution
   to unsecured creditors?

1s. How many creditors do                ~ 1-49                                   0   1,000-5,000                           0   25,001-50,000
    you estimate that you                0   50-99                                0   5,001-10,000                          0   50,001-100,000
    owe?                                 0
                                         0
                                             100-199
                                             200-999
                                                                                  0   10,001-25,000                         0   More than 100,000
                                                                                                                                                                I
19. How much do you                      ~ $0-$50,000                             0   $1,000,001-$10 million                0   $500,000,001-$1 billion
   estimate your assets to               0   $50,001-$100,000                     0   $10,000,001-$50 million               0   $1,000,000,001-$10 billion
   be worth?                             0   $100,001-$500,000                    0   $50,000,001-$100 million              0   $10,000,000,001-$50 billion
                                         0   $500,001-$1 million                  0   $100,000,001-$500 million             0   More than $50 billion

20. How much do you                      0   $0-$50,000                           0   $1,000,001-$10mllllon                 0   $500,000,001-$1 billion
   estimate your liabilities             0   $50,001-$100,000                     0   $10,000,001-$50 million               0   $1,000,000,001-$10 billion
   to be?                                ~ $100,001-$500,000                      0   $50,000,001-$100 million              0   $10,000,000,001-$50 billion
                                         0   $500,001-$1 million                  0   $100,000,001-$500 million             0   More than $50 billion
i@fl       Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13   I
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.                                                                                                       I
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified In this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can r
                                         18U.S
                                                                          · fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                          ,1341,151 ,and3 1.
                                                                                                                                                                'I
                                                                                                              Signature of Debtor 2                             I
 Official Fonn 101
                                             Executed on      11/30/2018
                                                              MM   I DD   /YYYY


                                                     Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                              Executed on
                                                                                                                            MM I DD    /YYYY


                                                                                                                                                  page 6
                                                                                                                                                                I
                                                                                                                                                                f

                                                                                                                                                                l
                             Case 18-25079-RAM                           Doc 1       Filed 12/03/18                Page 7 of 8

Debtor 1     Jeannette Rodriguez
             First Nana   Middle Name              Last Name
                                                                                                   Case number ( d k n o w n ) ' - - - - - - - - - - - - - - -




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are
                                        to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one
                                        available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which§ 707(b)(4)(0) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                            Date
                                           Signature of Attorney for Debtor                                               MM         DD /YYYY




                                           Printed name



                                           Firm name
                                                                                                                                                                 I
                                           Number      Street




                                           City                                                            State          ZIP Code




                                           Contact phone - - - - - - - - - - - - - -                      Email address




                                           Bar number                                                     State




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
                                                                                                                                                                 f
  '   '   ,..
                              Case 18-25079-RAM                         Doc 1      Filed 12/03/18            Page 8 of 8

Debtor 1        Jeannette Rodriguez
                                                                                                Case number (dknown), _ _ _ _ _ _ _ _ _ _ _ __
                Flnl!Nane   Middle Name               Last Name




For you if you are filing this              The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                       should understand that many people find it extremely difficult to represent
attorney                                    themselves successfully. Because bankruptcy has long-term financial and legal
                                            consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                    To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                    technical, and a mistake or inaction may affect your rights. For example, your case may be
                                           dismissed because you did not file a required document, pay a fee on time, attend a meeting
                                                                                                                                               or
                                           hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                           firm if your case is selected for audit. If that happens, you could lose your right to file another
                                           case, or you may lose protections, including the benefit of the automatic stay.

                                           You must list all your property and debts in the schedules that you are required to file with the
                                           court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                           in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                           property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                           If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To
                                                                                                                                               be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                           Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                           be familiar with any state exemption laws that apply.

                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?
                                           0 No
                                           ~Yes

                                          Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                          inaccurate or incomplete, you could be fined or imprisoned?
                                          0      No
                                          1;,21 Yes

                                          Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy
                                                                                                                                                    I

                                                                                                                                                    If
                                                                                                                                          forms?
                                          ~No
                                          0 Yes. Name of Person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                 Attach Bankruptcy Petition Preparer's Notice. Declaration, and Signature (Official Form 119).


                                                                                                                                                    l
                                          By signing here, I acknowledge that I understand the risks involved in filing without an attorney.
                                          have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                          attorney may cause me to lose my rights or property if I do not properly handle the case.
                                                                                                                                             I
                                                                                                                                                    i
                                                                                                      Signature of Debtor 2                         ~
                                                                                                                                                     I
                                          Date                                                        Date




                                                                                                                                                    Ii
                                                                                                                       MM I   DD /YYYY
                                          Contact phone      _8_1_3_-_5_10_-_9_9_7_1_____ ___         Contact phone

                                          Cell phone                                                  Cell phone

                                          Email address      jrdrodriguez@yahoo,com                   Email address



Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                               page 8     I
